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                                                                                                FBS
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA                             May 12, 2022

                            CASE NO. _ _1_:2_2_-m
                                               ____
                                                 j-_0_28_0_6_-L_o_u_is_ _ __                          Miami


   UNITED STATES OF AMERICA
   vs.


   ALAN LI, a/k/a "Michael Chen,"
                  Defemlant.

   ----------__,c....,R""I"""IV'""'u,..,.N...-'.I.AL covER SHEET

     1. Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? No

     2. Did this matter originate from a matter pending in the Central Region of the United States
        Attorney's Office prior to October 3, 2019 (Mag. Judge Jared Strauss)? No



                                                       Respectfully submitted,

                                                       JUAN ANTONIO GONZALEZ
                                                       UNITED STATES ATTORNEY

                                              BY:      ls/Katherine W. Guthrie
                                                       Katherine W. Guthrie
                                                       Assistant United States Attorney
                                                       Court ID No. A5502786
                                                       99 Northeast 4th Street
                                                       Miami, Florida 33132-2111
                                                       Tel: 786-390-8262
                                                       Email: Katherine.Guthrie@usdoj.gov
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AO 91 (Rev. 08/09) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District of Florida

                  United States of America                           )
                                V.                                   )
                                                                     )       Case No. 1:22-mj-02806-Louis
                         ALAN LI,                                    )
                  a/k/a "Michael Chen,"                              )
                                                                     )
                           Defendant(s)


         CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              March 12, 2022 - May 10, 2022       in the county of           Miami-Dade               in the
-~S~o~ut=h=e~rn~_ District of --~F~lo=n=·d=a~--, the defendant(s) violated:
             Code Section                                                      Offense Description
 18 U.S.C. § 1594(a)                              Attempted Sex Trafficking of a Minor
 18 U.S.C. § 2422(b)                              Attempted Coercion or Enticement of a Minor




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT.




          ~ Continued on the attached sheet.




                                                                                         Kimberly Jennette, FBI Special Agent
                                                                                               Printed name and title


                                                                      :ri~. 4) b _Face
 Attested to by the Applicant in accordance with the requirements ofFed.R.~y      _ _Time
                                                                                       _ _ _ _ _ _ __

Date: May 12 2022
                                                                                                  Judge 's signature


City and state:                            Miami Florida                          Hon. Lauren F. Louis, U.S. Magistrate Judge
                                                                                               Printed name and title
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                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT & ARREST

           I, Kimberly Jennette, being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

           1.      I have been a Special Agent with the Federal Bureau of Investigation ("FBI") since

    March 2018. I am an investigative or law enforcement officer of the United States within the

    meaning of Title 18, United States Code, Section 2510(7). That is, I am an officer of the United

    States empowered by law to conduct investigations of, and make arrests for, violations of federal

    law, including the offenses enumerated in Title 18, United States Code, Sections 1591, 2422, 2423,

    2251, and 2252.

           2.      I currently serve as part of the Crimes Against Children group and the FBI Child

    Exploitation Task Force in the FBI's Miami Field Office. My duties include investigating crimes

    involving the sexual exploitation of minors, including sex trafficking, child pornography, and

    enticement violations. I have received training on the proper investigative techniques for these

    violations, including the use of surveillance techniques, undercover activities, and the application

    and execution of arrest and search warrants. I have conducted and assisted in several child

    exploitation investigations. I have also executed search warrants that have led to seizures of child

    pornography and undercover operations to recover juvenile victims of sex trafficking.

           3.      I submit this Affidavit in support of a criminal complaint charging ALAN LI, a/k/a

    "Michael Chen" ("LI"), a 26-year-old Asian male with date of birth July 7, 1995, a social security

    number ending in 5248, who currently resides at 600 15th Street, Apt. 6, Miami Beach, Florida

    33139, with the following offenses: (1) Attempted Sex Trafficking of a Minor Less Than 14 Years

    of Age, in violation of Title 18, United States Code, Section 1594(a); and (2) Attempted Coercion

    and Enticement of a Minor, in violation of Title 18, United States Code, Section 2422(b ).
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              4.     The facts and information in this Affidavit come from my own personal

     observations, my training and experience, and information obtained from other law enforcement

     personnel, investigators, witnesses, and documents. This Affidavit does not include every fact and

     circumstance known to me, but only the facts and circumstances sufficient to establish probable

     cause.

                                           PROBABLE CAUSE

              5.     On or about March 12, 2022, the FBI received a National Hotline Tip from a female

     in Columbus, Ohio. The complainant ("S.M.") stated an acquaintance, LI, had reached out via

     Snapchat and asked her to help his friend MICHAEL CHEN ("CHEN") find young girls in the

    Miami, FL area. The following is a portion of Snapchat conversations between LI, username

    @alanli771995, and S.M. that occurred on or about March 12, 2022, provided by S.M.:

              LI                        You said you were trafficked right?
              LI                        My friend wants to meet young girls and he is willing to
                                        pay, can you help him out?
              S.M.                      Well, put him in touch with fmle here on Snapchat.
                                                     ...
              LI                        Ok lemme see if he has Snap
              LI                        One sec
              LI                        Ok I had him make an account
              LI                        He's gonna add you
              LI                        His name is Michael btw

              7.     Later that day, S.M. received messages from CHEN, utilizing Snapchat username

    Mikey_chen124. A portion of those conversations are below:

              CHEN                      Hi I'm mike, alan gave me your contact
                                                     ...
              CHEN                      But I also like younger girls
              CHEN                      If you know what I mean
              S.M.                      What age
              CHEN                      Ideally 8-15
                                                     ...
              S.M.                      Do you have some pictures of yourself? Do you also
                                        have any experience with this before?
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          CHEN


           8.     S.M. stated she had met LI approximately a year ago in Columbus, Ohio through a

    dating/escort site. The two got together for a night and spoke about her having been trafficked

    when she was a minor. S.M. and LI lost contact for about a year until he reached out online on or

    about March 12, 2022. S.M. identified LI as ALAN LI, and told law enforcement that she knew,

    through social media, LI was working at Mount Sinai Hospital in Miami Beach. S.M. said she and

    LI followed each other on Instagram. S.M. told law enforcement she believed LI and CHEN were

    the same person based on the nature of the conversations, LI acting as an intermediary, and the

    short amount of time between LI's request and CHEN's first message. After further investigation,

    S.M. reviewed the photo of LI from the website of Mount Sinai Medical Center in Miami Beach,

    FL. S.M. confirmed that the LI in the photo from Mount Sinai's website is the same LI that she

    has met and communicated with via Snapchat.

           9.     Additionally, on March 16, 2022, law enforcement learned that S.M. had also

    contacted Mount Sinai to report the conversations that she had with LI. J.P., Director of Security

    for Mount Sinai Medical Center, contacted the FBI to report his conversation with S.M. J.P.

    provided LI's information, which was recorded as: Alan Li, DOB: 7/7/1995, telephone number

    614-537-6514, residential address 600 15 th Street, Miami Beach, FL 33139. J.P. also provided Li's

    Instagram username as alan_li1995. The next week, J.P also gave law enforcement a copy ofLI's

    personnel file, which included his schedule, network activity on Mount Sinai's computers, and a

    personal email address of alanli_oh7@yahoo.com.

           10.     On March 22, 2022, S.M. consented to allow an FBI Online Covert Employee

    ("OCE") to take over her Snapchat account "PrivateSavvy2.0" to continue talking to CHEN and

    LI. When the OCE opened S.M. 's Snapchat account on March 22, 2022, Snapchat data showed
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    CHEN had not reached out to S.M. in four days, but LI had made contact asking for updates on or

    about March 21, 2022. On March 22, 2022, the OCE messaged LI via S.M. 's Snapchat and

    provided LI with a "trafficker's" telephone number. The "trafficker," the same OCE utilizing

    another telephone number, received a text message from LI shortly thereafter. LI used a telephone

    number, 305-239-8165, whose registered provider is Bandwidth, Inc. ("Bandwidth"), a

    telecommunications company. Portions of the conversation are below:

          LI                          I heard you can set me up with some girls?
          OCE                         Perhaps. What exactly you looking for?
          LI                          10-14 in the Miami area
          OCE                         fS.M.l said this was for your buddy?
          OCE                         Mike?
          LI                          Yessir
          OCE                         I'll speak with him directly then ifhe 's interested. I don't
                                      mess with middlemen


           11.    Within a few minutes, CHEN initiated contact with the OCE via another Bandwidth

    registered telephone number, 786-408-6520:

          CHEN                        What do you have available?
          OCE                         Girl or boy?
          CHEN                        Girl
          OCE                         Got a 9, 12, and 15 depending on what kind of service
                                      you want
          CHEN                        Full service bareback available?
          OCE                         For the 9 and 12. Gotta wrap up for the 15
          OCE                         No anal with the 9
          CHEN                        Ok let's do the 12
                                                   ...
          CHEN                        So what do I need to do in order to make this happen?

           12.    CHEN and the OCE then discussed payment and rates. CHEN asked to spend "1

    hour" with the 12-year-old girl. The OCE told CHEN he would need to pay half up front and that

    it would be "$500 total for bareback sex with 12-year-old. Down payment of $250 ... "to be paid

    through CashApp. As they discussed payment, CHEN asked ifhe could pay with cash or Bitcoin.
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     CHEN explained CashApp would not allow him to send money without providing his social

     security number. He asked if he could have someone else pay for him, and the OCE said they

     would work it out later:

           OCE                       ... we will figure something out [regarding payment].
                                     What kind of long term set up vou looking for?
           Cl:IEN                    Ok no problem
           CHEN                      And like a live in situation
           OCE                       You ever had that?
           CHEN                      Ya once before
           CHEN                      Do you do that?
           OCE                       Yes but I keep that very private. What was your previous
                                     setup?
           CHEN                      I just had her live with me and I provided everything
           OCE                       Fuck her?
           CHEN                      Of course
           OCE                       How old was that one? This 12 I got will do anything but
                                     had her a while now
           CHEN                      13
                                                 ...
           OCE                       . . . . Who's kid was it?
           CHEN                      Just someone I knew in Ohio who set it up for me


            13.     The OCE and CHEN then discussed the possibility of CHEN purchasing a minor

     to live with him. CHEN asked whether he should pay in monthly payments or a lump sum. The

     OCE then asked CHEN how he would keep the 12-year-old "quiet and unseen":

           CHEN                      Ya she will stay in the house
           OCE                       And not get out while your gone
           CHEN                      Ya I mean I'll keep everything locked up but she is well
                                     behaved I assume?
           OCE                       Under my control she is
           CHEN                      Gotcha
           .CHEN                     Well l'll make sure everything is safe
           OCE                       How?
           CHEN                      I keep mv place prettv safe and locked up
                                                  ...
           CHEN                      And what's your monthly rate?
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          OCE                         I've only ever sold one girl for permanent use and that
                                      was a one time payment. Once I sell her she may yours
                                      so idk if I want monthlv oavments linking me to vou
          CHEN                        Gotcha
          CHEN                        How much did vou sell for?
          OCE                         $20K
          CHEN                        Ok that's reasonable. Just need to see the girl first
                                      obviously lol

                                  FOLLOW-UP INVESTIGATION

           14.    On March 23, 2022, law enforcement served a subpoena on Bandwidth for the

    subscriber information associated with telephone numbers 305-239-8165 and 786-408-6520, as

    used by LI and CHEN in the above conversations. Bandwidth's records showed both telephone

    numbers belong to Ad Hoc Labs, Inc (dba Burner). Burner, a mobile app, advertises itself as a

    "simple and effective way to get extra phone numbers for [a user's] phone, keeping their primary

    phone number private." Burner says you can "[c ]reate as many simultaneous local numbers as you

    need, in any U.S. or Canadian area code."

           15.    Law enforcement subpoenaed Snapchat for records associated with the accounts of

    LI (username @alanli771995) and CHEN (username @Mikey _chen124). Snapchat returns

    showed CHEN's account was created from IP address 207.244.181.239 ("IP ADDRESS") on

    March 12, 2022, the same date LI reached out to S.M. about finding young girls. The Snapchat

    returns also showed CHEN's account was created with telephone number 305-239-8165, the same

    telephone number LI used to contact the OCE.

           16.    On March 30, 2022, law enforcement found a Telegram Mobile account with

    display name "Michael Chen," which was associated with Li's known telephone number, 614-

    537-6514.

           17.    Additionally, IP activity showed that, on several occasions, alanli771995 logged

    out of Snap chat and within a few seconds Mikey_chenl 24 logged into Snapchat or vice versa from
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     the same IP address. For example, Mikey_chen124 logged out ofSnapchat, on March 12, 2022, at

     22:26:21 UTC, and alanli771995 logged into Snapchat at 22:26:25 UTC, both from the IP

     ADDRESS.

            18.      On April 4, 2022, CHEN texted the OCE using a new Bandwidth telephone number

     305-239-8515:

           CHEN                         Ok I'll get the cash aoo sent to vou
           CHEN                         Can vou send the receiving address again?
           OCE                          Mike?
           CHEN                         Ya what's up
           CHEN                         Sorry I had to get a new burner phone my old one ran out
                                        lol


            19.      During the conversation, the OCE and CHEN again discussed payment for the 12-

     year-old girl that CHEN had requested previously. The OCE provided a CashApp ID.

            20.      On April 7, 2022, the OCE told CHEN that due to the CashApp issues, they could

     just meet in person. A portion of the conversation is below:

           OCE                          Hey man, if the cashapp is going to be a huge issue. We
                                        can just meet and talk first to make sure your cool.
                                        You've been vouched for so I'm not super worried
           CHEN                         Ya I'm having a hard time foruring it out
           CHEN                         And va I'm down to iust meet up
           OCE                          Aight. We are in Atlanta but should be back late Sunday
                                        night. Once she gets some sleep and maintenance should
                                        be good for Monday or Tuesday
           CHEN                         Cool I'm down for that
                                                      ...
           OCE                          She should be available for you after the weekend. Can
                                        do an hour and go from there. What you into so I can prep
                                        her
           CHEN                         I just want to go raw with cum inside
           OCE                          Aight that's easy. Nothing rough. No scars or bruises.
                                        Obvious but have to say it
           CHEN                         Yup that's not a problem I'm not rough like that
           OCE                          Cool. We are going to come back there Sunday night. I
                                        gotta pick a spot to work next week. What's close to you?
           CHEN                         I'm near south beach
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              21.     In the same conversation, CHEN asked the OCE about how their meeting would

     work and where the OCE was based:

             CHEN                        Where do vou usually do this out of?
             CHEN                        Hotel!
             CHEN                        ?
                                                       ...
              CHEN                       You're based in Miami tho?
              OCE                        Yea Miami / Ft Laudy but mostly Miami. Come up to
                                         Atlanta a lot to
             CHEN                        Perfect
             CHEN                        Excited to meet up


              22.     CHEN scheduled to meet the OCE and the 12-year-old girl on April 12. But on the

     evening of April 12, CHEN cancelled, saying he had to work late. 1 CHEN asked, "Can we schedule

     for tomorrow? It just works so much better for my schedule."

              23.     The following day, April 13, 2022, LI-not CHEN-reached back out to S.M. via

     Snapchat. At this point, the OCE had relinquished control of S.M. 's Snapchat account. When S.M.

     replied on April 16, LI asked about the trafficker she had put him in touch with:

              LI                         Was mainly wondering about this dude you
                                         recommended for me and mv friend Michael in SoFL
             LI                          He's trustworthy ri!!ht?
                                                       ., ..
             LI                          . . . I'm not trying to be sketch but I'm trying to be careful
                                         since I don't know him.
              S.M.                       I get it
              LI                         So I should hit him up then?


              24.     From on or about April 16, 2022, to April 28, 2022, CHEN and the OCE did not

     communicate. On April 29, 2022, CHEN and the OCE resumed messaging when the OCE told

     CHEN, "Got some high-end girls in town working the beach this weekend and next for Fl. If you




     1   During this time, law enforcement were surveilling LI who had already left work that day.
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     know any players send them my way." From on or about April 29, 2022, through May 1, 2022,

     CHEN and the OCE messaged intermittently, texting about what girls were available, what ages,

     and pricing.

            25.     On May 2, 2022, CHEN asked the OCE if any girls were available:

           CHEN                         Anvone availabletonight?
           OCE                          12and 15 m
           CHEN                         Anvoics? Ans where vou at?
                                                     ...
           OCE                          You seen the 12 I'll get vou 15 in a min
           CHEN                         Ok nice. lemme know


            26.     After CHEN and the OCE discussed the rates for the 15-year-old girl, CHEN

     messaged, "Ya let's do it." He told the OCE he would let him know when he was on his way. The

     OCE told CHEN, "You waste my time again we are done. I have a business to run."

            27.     After the OCE sent that text to CHEN, LI 2 sent S.M. a message on Snapchat. By

     this point, S.M. had returned control of her Snapchat account back to the OCE, who pretending to

     be S.M., stated the following:

           LI                           I'm worried about this dude T vou recommended haha
           S.. M.                       What about him and whv?
           LI                           Idk haha he iust gets suoer aQ"m-essive sometimes
           S.M.                         Why what happened now?
           LI                           Nothing haha just was gonna meet him tonight and got
                                        spooked


            28.     Based on my investigation, there is probable cause to believe that LI and CHEN

     are the same person, engaged in the attempted sex trafficking of a minor and the attempted coercion

     and enticement of a minor, for the following reasons: CHEN's Snapchat account was created from


     2The OCE (when pretending to be the trafficker) has not received any further messages from a
     person identifying himself as "Alan" since on or about March 23, 2022. Alan LI, however, has
     continued to communicate with both S.M. and the OCE pretending to be S.M.
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      the same phone number that LI used to contact the OCE trafficker; IP activity shows that several

      times alanli771995 logged out of Snapchat and, within a few seconds, Mikey_chen124 logged into

      Snapchat or vice versa from the same IP address, including the IP ADDRESS registered to LI's

      known residence; LI's known telephone number, 614-537-6514, is associated with CHEN's

      Telegram Mobile account; LI initiated contact with the OCE trafficker and said, "I heard you can

      set me up with some girls?" (emphasis added) and only referenced CHEN when prompted by the

      OCE; LI's work as a middleman for CHEN; the overlap in their biographical information,

      including that they both previously lived in Ohio and now live near South Beach; and Li's reaching

      out to S.M. via Snapchat on at least two separate occasions to inquire about the tmstworthiness of

      the OCE trafficker whose information she provided following meetings CHEN, not LI, had

      scheduled with the OCE trafficker.




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                                                CONCLUSION

            29.    Based on the foregoing, your Affiant respectfully submits that there is probable

     cause to believe that, beginning on or about March 12, 2022, ALAN LI a/k/a "Michael Chen"

    engaged in the attempted sex trafficking of a minor, in violation of Title 18, United States Code,

     Section 1594(a), and the attempted coercion and enticement of a minor, in violation of Title 18,

    United States Code, Section 2422(b ).

    FURTHER YOURAFFIANT SAYETH NAUGHT




                                                    KIMBE~ JENNETTE, SPECIAL AGENT
                                                    FEDERAL BUREAU OF INVESTIGATION


    by Face Time   thzof
    Attested to by the applicant in accordance with the requirements of Fed.R.Crim.P. 4.1
                                    May 2022, in Miami, Florida.



     HONORABLE LAUREN F. LOUIS
     UNITED STATES MAGISTRATE JUDGE
